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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION


 KEVIN L. KING,               )
                              )
      Plaintiff,              )
                              )
      v.                      ) CASE NO. 1:-09-cv-0659LJM-TAB
                              )
 THE HOME SAVINGS & LOAN      )
 COMPANY OF YOUNGSTOWN, OHIO, )
      Defendant.              )



                              ORDER OF DISMISSAL WITH PREJUDICE


          Plaintiff, Kevin L. King, by counsel, and Defendant, The Home Savings and Loan

 Company of Youngstown, Ohio, by counsel, having filed with this Court their Joint Motion to

 Dismiss With Prejudice,

          And the Court having seen, examined and considered the Joint Motion now,

          HEREBY ORDERS, ADJUDGES AND DECREES:

          1.          Plaintiff’s Complaint against Defendant is dismissed with prejudice; and

          2.          Defendant’s counterclaim against Plaintiff is dismissed with prejudice.

                  09/01/2010
          Dated:________________________.



                                                    ____________________________________
                                                    Judge, U.S. District Court
 Distribution:                                                  ________________________________
                                                                LARRY J. McKINNEY, JUDGE
                                                                United States District Court
 Ellen M. Corcella corcellasolutions@gmail.co                   Southern District of Indiana
 Peter A. Velde pvelde@k-glaw.com




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